Case 3:17-cv-01362 Document 1115-20 Filed 10/24/20 Page 1 of 3 PageID #: 37842




                   EXHIBIT U
Case 3:17-cv-01362 Document 1115-20 Filed 10/24/20 Page 2 of 3 PageID #: 37843
3/6/2019     Case 3:17-cv-01362 Document  1115-20
                                    Automation            Filed
                                               of Reports and    10/24/20
                                                              Consolidated OrdersPage
                                                                                  System3(ARCOS)
                                                                                           of 3 PageID #: 37844
   RE: ARCOS Electronic Data Interchange (EDI) Program

   The Automation of Reports and Consolidated Orders System (ARCOS) Electronic Data Interchange (EDI) reporting system is now available to all DEA registered
   manufacturers and distributors. The ARCOS Unit encourages all ARCOS Participants to use the ARCOS EDI system to transmit required monthly or quarterly ARCOS
   reports. ARCOS EDI is a secure internet portal system that allows 24/7 reporting. A user's guide is available to ARCOS participants when the EDI system is accessed.
   Manufacturers and distributors who elect to report using the EDI system will no longer be required to mail their ARCOS reports to DEA.

   The ARCOS EDI program has been designed to offer the following improvements and advantages to participating manufacturers and distributors:

        Prov des a cost effective method of subm tting transaction reports to DEA
        Faster processing and turnaround of transact on and error reports
        Help Desk assistance available to answer all questions


   Transmitting data via the internet through the ARCOS EDI portal has eliminated the requirement for mailing diskettes and compact disks (CD) to the ARCOS Un t. CDs
   and diskettes are no longer accepted by the ARCOS Unit. Paper reporting using DEA Form-333 is also an acceptable reporting method.

   To register for the program, the following ARCOS EDI Request Form must be completed and faxed or mailed to the Drug Enforcement Administration. Fax the
   completed form to the ARCOS Unit at 202-307-8612 or mail it to DEA Headquarters, Attn: ARCOS Unit, P.O. Box 2520, Springfield, VA 22152-2520. When DEA
   receives the EDI request form, the ARCOS Unit will contact the responsible individuals to set up user accounts and prov de all information needed for participation in
   the program. Please direct questions regarding the ARCOS EDI program to the ARCOS staff at (202) 307-8600 or ARCOS_Unit@usdoj.gov for email inquiries.

   ARCOS EDI Request Form (PDF)




                              HOME      CONTACT US              A-Z SUBJECT INDEX                PRIVACY NOTICE                WEBSITE ASSISTANCE


   REGISTRATION                               REPORTING                                      RESOURCES
   Applicat ons                               ARCOS                                          Cases Against Doctors                          National Prescript on Drug Take Back
   Tools                                      BCM Online                                     Chemical Control Program                       Day
   Resources                                  Chem cal Import/Export Declarations            CMEA (Combat Meth Ep demic Act)                NFLIS
   CMEA Required Training & Self-             CSOS (Controlled Substances Ordering           Controlled Substance Schedules                 Publ cations & Manuals
   Certif cat on                              System)                                        DATA Waived Physicians                         Questions & Answers
   Quota Appl cations                         Theft/Loss Reporting                           Drug Disposal Information                      Signif cant Guidance Documents
                                              Import/Export                                  Drug and Chemical Information                  Synthetic Drugs
   ABOUT US                                   Medical Missions                               E-commerce Initiatives                         Title 21 Code of Federal Regulations
                                              Registrant Record of Controlled                Federal Agencies & Related Links               Title 21 USC Codified CSA
   Program Description                        Substances Destroyed                           Federal Register Not ces
   Customer Service Plan                      Quotas
   DEA Forms & Appl cat ons                   Reports Required by 21 CFR
   Mailing Addresses                          Submit a Tip to DEA
   Meetings & Events                          Year-End Reports
   What's New


                                                     U.S. DEPARTMENT OF JUSTICE • DRUG ENFORCEMENT ADMINISTRATION
                                          Diversion Control Division • 8701 Morrissette Drive • Springfield, VA 22152 • 1-800-882-9539



                                            DEA.GOV         |    JUSTICE.GOV          |     USA.GOV        |      REGULATIONS.GOV

                                         DOJ Legal Policies and Disclaimers   |   DOJ Privacy Pol cy   |   FOIA   |   Section 508 Accessibil ty




https://www.deadiversion.usdoj.gov/arcos/index.html                                                                                                                                2/2
